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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW, and
      2. KIMBERLEY ANN TEW,
         a/ka Kimberley Vertanen,

        Defendants.


       GOVERNMENT’S MOTION FOR DETENTION PENDING SENTENCING


        Following an eight-day jury trial, Michael and Kimberley Tew are now

 convicted felons. The law dictates that they be detained pending sentencing. 18

 U.S.C. § 3143(a). The facts also suggest that the presumption of detention cannot be

 overcome.

        As proven at trial, the Tews spent the past six years conniving to get away

 with a brazen scheme to steal $5 million, much of which was converted offshore into

 bitcoin. In service of this goal, the Tews lied to their friends and associates for

 years. During the conspiracy, they collaborated on what they would do if they ever

 were caught.

        When that day finally came and federal agents showed up at their door,

 Michael Tew made good on their plans and sought to flee the country with his


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 family. A swift probable cause arrest interrupted that attempt. But they did not

 give up. Thereafter, Kimberley Tew tried to tamper with several witnesses and

 impede the government’s investigation. In doing so, she candidly admitted the plan

 she shared with her husband all along — despite the extent of the evidence against

 them both —the government could “only have one head.” When trial finally arrived,

 they persisted with their plan, by ignoring court orders and deadlines, and by

 attempting to manipulate the jury by pointing blame at one another.

       Each sought to delay trial in this matter for years. Throughout, they showed

 that neither has come to terms with the substantial harms wrought by their years

 of deception and criminality. Now, they seek to delay justice even further,

 demanding presentence release and intimating that they should be accorded

 staggered sentences, using their status as parents as justification.

       As if the long history of this case were not enough to indicate that such a

 result would be an injustice, recently acquired bank records underscore the point.

 Those records show that the Tews likely lied to the courts, and that their casual

 relationship to truth came at a tangible cost to the American taxpayer. Specifically,

 they made representations to the court — under penalty of perjury — in order to

 secure the appointment of CJA counsel to which they were not entitled. While

 availing themselves of free CJA representation, they lived in an $8,649.69-a-month

 luxury apartment and pocketed gross income of between $22,000 and $124,000

 every month since January 2022.

       The Tews should be treated like every other defendant convicted at trial.

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 There are not two systems of justice in this country – one for the wealthy and one

 for the poor. The law should be applied equally, and that law presumes they should

 be detained. The facts add weight to that presumption, and the Tews have not

 presented clear and convincing evidence to the contrary. The Court should revoke

 their bonds and order that they be detained pending sentencing.

       I.     Recently obtained bank records suggest that the Tews lied on
              their CJA affidavits, which constitutes perjury and a
              mandatory revocation of bond.

       As detailed below, Michael Tew has received at least $1,212,181.27 in gross

 deposits into a single bank account since January 2022. The government

 respectfully requests that the Court order release to the government of the Tews’

 respective CJA financial affidavits, filed at ECF No. 282, so that the government

 can evaluate whether they made false statements under penalty of perjury. See

 United States v. Kahan, 415 U.S 239, 243 (1979); see, e.g., United States v. Jenkins,

 2012 WL 12952829, at *4 (N.D.N.Y. Oct. 9, 2012) (“[T]he government has the

 authority request disclosure of the above-described financial affidavit on the ground

 that it is necessary for the government to determine whether to seek a separate

 indictment against the affiant for perjury); United States v. Ponzo, 2012 WL 28065,

 at 6 (D. Mass. Jan. 3, 2012) (ordering release of defendant’s financial affidavit after

 trial so that government could evaluate whether separate prosecution for perjury

 was warranted); United States v. Becker, 2010 WL 1936038, at *2 (D. Kan. May 12,

 2010) (granting disclosure of CJA affidavit to government).

       Should the Court conclude that release of the affidavits is appropriate, the

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 government also requests a hearing, pursuant to 18 U.S.C. § 3148, to determine

 whether the Tews’ orders of release should be revoked on the basis that they

 committed new crimes while on release

       Bank records obtained during the trial show that tens of thousands of dollars

 are deposited into an account held in the name of Michael Tew every month:

                          Month and Year Deposits
                          01/22              $50,875.79
                          02/22              $124,989.95
                          03/22              $55,521.54
                          04/22              $57,233.14
                          05/22              $71,069.11
                          06/22              $62,932.81
                          07/22              $53,482.97
                          08/22              $51,086.67
                          09/22              $59,056.31
                          10/22              $27,523.52
                          11/22              $25,332.10
                          12/22              $39,491.31
                          01/23              $36,856.25
                          02/23              $46,199.01
                          03/23              $41,929.82
                          04/23              $22,987.04
                          05/23              $33,174.51
                          06/23              $35,474.86
                          07/23              $36,500.05
                          08/23              $30,875.68
                          09/23              $43,116.57
                          10/23              Not available
                          11/23              $51,069.33
                          12/23              $63,477.26
                          01/24              $91,925.67
                          TOTAL              $1,212,181.27

 Every month, much of this money disappears via transfers to Kimberley Tew, wire

 transfers, cash withdrawals, or purchases on cryptocurrency exchange platforms. At


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 a hearing, the government can compare the CJA affidavits to these bank records. If

 the Court concludes that there is probable cause to believe that the Tews committed

 perjury in violation of 18 U.S.C. § 1621 when they submitted their affidavits, then

 there is a rebuttable presumption that they should be detained. 18 U.S.C. §3148(b)

 (mandating revocation where there is probable cause to believe that a person has

 committed a federal, state, or local crime while on release).

       II.    The Tews are now convicted felons, subject to a rebuttable
              presumption that they be detained.

       The Tews are guilty of conspiracy to commit wire fraud, conspiracy to commit

 money laundering, and substantive counts of the same. They are no longer entitled

 to a presumption of liberty. 18 U.S.C. § 3143(a)(1). Detention is therefore the

 mandatory, routine norm for any defendant in their position, namely, one following

 conviction and before the imposition of a custodial sentence. 18 U.S.C. § 3143(b)(1).

 As the Senate articulated in the report accompanying the Bail Reform Act:

       Once guilt of a crime has been established in a court of law, there is no
       reason to favor release pending imposition of sentence or appeal. The
       conviction, in which the defendant's guilt of a crime has been established
       beyond a reasonable doubt, is presumably correct in law.

 Senate Judiciary Committee Report, S. Rep. NO. 225, 98th Cong., 1st Sess. 19

 (1983). See, e.g., United State v. Johnson, 652 F. App’x 619, 622 (10th Cir. 2019)

 (affirming order of detention pending sentencing after applying presumption and

 concluding that defendant facing only 0-6 months’ imprisonment presented flight

 risk). At this point in the proceedings, the Tews bear the burden to establish that

 they deserve the extraordinary remedy of presentence release. To do so, they must

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 show — by clear and convincing evidence — that they are neither flight risks nor

 dangers to the community. See, e.g., United States v. Giancola, 754 F.2d 898, 900-01

 (11th Cir. 1985) (“The 1984 Act was intended to change the presumption so that the

 conviction is presumed correct and the burden is on the convicted defendant to

 overcome that presumption.”); see also Fed. R. Crim. P. 46(c) (“The burden of

 establishing that the defendant will not flee or pose a danger to any other person or

 to the community rests with the defendant.”)/

       In considering whether the Tews have met this burden, the Court should be

 guided by two principles First, the Tews cannot overcome the presumption simply

 by pointing to their conformity to the terms of their pretrial release.   See United

 States v. Martinez, 2020 WL 1666804, at * 2 (W.D. Okla. April 3, 2020 (“That

 Defendant was previously compliant with pretrial conditions, at a time when

 Defendant was hopeful that he would be acquitted of his charges, is insufficient to

 show by clear and convincing evidence that he would neither flee nor present a

 danger to the community.”); United States v. Hanhardt, 173 F. Supp. 2d 801, 806

 (N.D. Ill. 2011) (noting that arguments seeking pre-sentencing release based on

 compliance with pre-trial release orders are “routinely rejected” because “prior to

 trial there is the possibility of no imprisonment, which evaporates upon a finding of

 guilt”). Compliance with bond conditions is not a merit badge; it is the bare

 minimum of what the law and the courts require of everyone on bond.

       Second, “danger to the community” is not limited to violence. The Court

 should consider, instead, whether the Tews are likely to continue committing crimes

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 in the months between now and sentencing. See, e.g., United States v. Provenzano,

 605 F.2d 85, 95 (3d Cir. 1979) (holding that “a defendant's propensity to commit

 crime generally, even if the resulting harm would be not solely physical, may

 constitute a sufficient risk of danger to come within the contemplation of the [Bail

 Reform] Act”); United States v. Reynolds, 956 F.3d 192 (9th Cir. 1992) (concluding

 that “danger” may encompass pecuniary or economic harm).; see also S. REP. NO.

 225, 98th Cong., 1st Sess. 12 (1983), reprinted in 1984 U.S.C.C.A.N. 3182, 3195

 (“[T]he language referring to the safety of the community refers to the danger that

 the defendant might engage in criminal activity to the detriment of the community.

 The committee intends that the concern about safety be given a broader

 construction than merely danger of harm involving physical violence.”). On this

 front, there is at least probable cause to believe that the Tews have not been

 compliant with the terms of their release, and indeed have continued to engage in

 speculative cryptocurrency transactions, all while depleting limited public resources

 designed to protect the right of counsel for those who actually need it.

       III.   Even if the presumption were not present, the factors set forth
              in the Bail Reform Act weigh in favor of detention.

       The law’s presumption that the Tews should be detained is reinforced by all

 of the factors the statute asks the court to consider.        18 U.S.C. § 3143 (cross-

 referencing 18 U.S.C. §§ 3142(b) and (c)); 18 U.S.C. § 3142(g) (setting forth factors

 to consider in applying § 3142(b) and (c)).




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              A.     The nature of the crimes is serious and the
                     circumstances suggest that the Tews are not susceptible
                     to customary forms of deterrence.

       The Court is well-acquainted with the nature of the offenses from its

 oversight of the eight-day jury trial. The crimes of conviction are serious.

       The United States Sentencing Guidelines will likely recommend up to 188

 months’ imprisonment:

        Enhancement                       Guideline             Offense Level
                                          Provision
        Total Fraud Offense level                                            29
        Base Offense level                2B1.1(a)(1)                         7
        Loss > $3.5 million               2B1.1(b)(1)(J)                    +18
        Substantial Financial Hardship    2B1.1(b)(2)(A)                     +2
        Sophisticated Means               2B1.1(b)(1)                        +2
                                                       Additional Enhancements
        § 1957 laundering                 2S1.1(b)(a)                        +1
        Leader/Organizer                  3B1.1(c)                           +2
        Obstruction                       3C1.1                              +2
         Total Offense Level                                   34
        Recommended Range                                      151-188 months

 The Tews face the near-certainty of a lengthy term of imprisonment. That

 possibility increases both the risk of flight and the risk of danger. See United States

 v. Bruno, 89 F. supp. 3d 425, 431 (E.D.N.Y. 2015) (“When evidence of a defendant’s

 guilt is strong, and when the sentence of imprisonment upon conviction is likely to

 be long . . . a defendant has stronger motives to flee.”) (cleaned up).

       In its assessment of the nature of the Tews’ crimes, the Court should consider

 their criminogenic behavior. To further their two-year fraud, the Tews used various

 artifices and manipulations to encourage others to commit crimes. The Court heard



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 testimony about how the Tews kept Yioulos involved in the scheme for years and

 how they encouraged criminal behavior from the principals of several of the sham

 vendor companies, including H.S. (HS CPAs), M.M. (MCG, Inc), and L.W. (PM). The

 Tews’ willingness to use and manipulate others for their own selfish ends is

 precisely the type of conduct that increases the likelihood that the public will be

 exposed to their dangers. Put simply, more than just money is at stake — other

 people’s potential culpability and freedom is at risk, too.

       The circumstances of the crime are related to issues of flight and danger. The

 Tews committed their crime knowing that, someday, they might be caught. The fact

 that this risk did not deter them from committing a serious financial crime weighs

 in favor of the conclusion that they will continue to commit these kinds of crimes

 while they remain free. In reality, there is good reason to believe such criminal acts

 are continuing. Just this past October, a Denver District Court judge found that

 Kimberley Tew committed civil theft and conversion when she kept cryptocurrency

 that had been promised to an “investor.” Attachment A.

       Further, the recent bank records described show that the pattern of financial

 activity the Court saw at the trial has continued. Each month, tens of thousands of

 dollars deposited into Michael Tew’s bank accounts; each month, tens of thousands

 of dollars are transferred out of those accounts, including to Kimberley Tew, using

 fintech applications, wire transfers, ATM and cash withdrawals, or transfers into

 cryptocurrency exchanges. This pattern of banking activity is entirely consistent

 with that during the crimes of conviction.

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      Here, the Tews delayed justice in this matter for years and showed every

indication that they did not believe the day of reckoning would ever rise. If

anything, the excuse that their crimes were ones solely borne of providence and

opportunity is dispelled by the fact that they have continued, utterly unabated, even

while under pretrial supervision.

             B.    The weight of the evidence is heavy and the likelihood of
                   success on appeal is slight.

      The court is similarly well-positioned to judge the weight of the evidence and

the corresponding likelihood that any trial deficiencies amount to more than

harmless error. This factor, too, adds to the presumption in favor of detention.

             C.    The Tews’ respective history and characteristics suggest
                   a profound lack of respect for the law that militates
                   against any finding they will not flee or refrain from
                   committing additional financial crimes (18 U.S.C.
                   § 3142(g)(3)).

      Character and Past Conduct. As noted above, the circumstances of the Tews’

crimes, by themselves, show a profound lack of concern for legal consequences.

Yioulos’ frequent references to how they would all spend time in jail for what they

were doing did not stop Michael or Kimberley Tew from stealing tens of thousands

of dollars every week to fuel a luxury lifestyle, gamble, and speculate in

cryptocurrency. When the authorities arrived, the Tews planned to flee. The Tews

committed these offenses while parenting young children, heedless of the

consequences their needless criminal conduct could have on their children’s lives.

Neither has the kind of character that suggests they can overcome the presumption


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in favor of detention.

      Michael Tew’s first response to the possibility of federal charges was to ask

Yioulos for money so that he could flee. He also contacted MM, wanting to know if

MM had spoken to the FBI. Kimberley Tew’s response was to tamper with

witnesses. Her first effort was her most successful. When Michael Tew eventually

agreed to submit to a proffer free from any conditions that would prevent him from

cooperating against his wife, Kimberley stalked him down at the Yeti Store,

disrupted his meeting with government agents, and corruptly endeavored to

prevent him from testifying against her. Before that, she attempted to obstruct the

investigation and prosecution by wiping her text messages. And then, when the

Speedy Trial clock was ticking towards a deadline for indictment in the beginning of

2021, she sent threats to HS in an effort to prevent HS from providing information

to the authorities. The responses of both suggest that each is willing to take

extreme risks to avoid consequences or accountability. Their actions further weigh

against the notion that they have or will meekly submit to authorities.

      Physical and Mental Condition. The Tews have no known health issues that

would prevent or hinder flight. They have no known diagnosed mental health

conditions, but the Court has been able to see and evaluate for itself the extent to

which their mental conditions, including Kimberley Tew’s severe gambling

addiction, have encouraged risk-taking and a propensity to indulge selfish impulses.

These factors do not support release.

      Family Ties. Michael Tew’s family is here in Colorado and the Tews live in

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Denver with their children.    The fact that they have two school-age children is

perhaps the strongest factor they can point to in favor of overcoming the

presumption of detention. But the mere fact that the Tews have children does not

mean they won’t flee and it has no bearing on whether or not they will continue to

commit crimes or encourage others to do so. Most obviously: the Tews committed

the crimes of conviction despite knowing that if they were caught, they’d likely face

years in jail that would mean being separated from their kids. That didn’t matter.

They did it anyways. This suggests that the mere fact that the Tews are parents is

insufficient to deter them from making impulsive and harmful decisions. Indeed, a

perverse consequence of the pending sentencing might be to increase the likelihood

that they will flee with their children (in the hope that they can remain outside long

enough to see the children to adulthood) or to use their facility with both financial

crime and cryptocurrency to hide enough ill-gotten gains to provide for them while

they are imprisoned. Finally, it is difficult to believe that the Tews have not made

alternative arrangements for their children at this point in the proceedings. They

bear the burden of showing how this and other factors can overcome both the legal

presumption of detention and the facts supporting it. But they have not presented

any evidence at all.

      Financial Resources. The Tews stole $5 million and put at least $2.4 million

of that into cryptocurrency. The government is not capable of finding where all of

those funds went, and even if everyone assumes that the two of them gambled or

frittered away a substantial portion of it, there is still a high likelihood that they

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have thousands hidden somewhere. And that’s before the Court considers evidence

in the form of the bank records described above, which show that in just one account

the Tews have received over a million dollars in the past two years. The Tews

clearly have the means to flee, which makes them flight risks. See Matter of

Extradition of Ricardo Alberto Martinelli Berrocal, 263 F. Supp. 3d 1280, 1304 (S.D.

Fl. 2017) (citing numerous cases in multiple jurisdictions across the United States

holding that defendants with financial means to flee are flight risks). Separate and

apart from how much money the Tews might currently have, the Court should also

consider the Tews’ ability to generate money, both licit and illicit: each is very

familiar with cryptocurrency, adept at using social engineering to get what they

want or need from people, and willing to use others’ identities to further their own

interests. This factor, too, supports the presumption in favor of detention.

      Length of Residence and Community Ties.            Michael Tew has family in

Colorado, but he spent most of his adult life outside the state. Kimberley Tew has

no ties to Colorado outside of her connection with Michael. Despite the fact that

both have lived here now for several years, there is no evidence of the kind of robust

community ties that would have moral suasion over their decision-making. Michael

Tew can work remotely from anywhere in the world and it would be tempting for

them to build a new life somewhere else, free from the possibility of a prison

sentence or the efforts of civil plaintiffs to collect on any judgment. Like every other

factor, this one does not help them overcome the presumption in favor of detention.

      Drug use. The defendants each have a history of illicit drug use. This is yet

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another factor that weighs against, rather than in favor, of release: the coming

weeks are bound to impose additional stresses on the Tews, which increases the

likelihood of drug use and its attendant propensity to encourage rash and

ill-considered decisions.

              D.    Alternatives to detention are unlikely to be adequate,
                    especially where, as here, the defendants have been
                    convicted by a jury of crimes and circumstances that are
                    less amenable to supervision.

      Michael and Kimberley Tew are flight risks who are likely to be a continuing

danger to the community who will continue to commit crimes while on release. In

fact, as noted above, there is at least probable cause to believe that they have

committed additional crimes while on release. The Court should consider whether

alternatives to detention will substantially assure their appearance and prevent

future criminal conduct.    Among those alternatives, either in combination or in

isolation, would be home detention with electronic monitoring, coupled with

stringent financial monitoring conditions, internet restrictions or monitoring, a

prohibition on gambling, and drug testing.

      The government submits that even imposing all of these conditions would be

inadequate.   Ankle monitors can — and are — easily cut off.         United States v.

Maxwell, 510 F. Supp. 3d 165, 177 (S.D.N.Y. 2020) (“[H]ome detention with

electronic monitoring does not prevent flight; at best, it limits a fleeing defendant's

head start.”) (quoting United States v. Zarger, 200 WL 1134364, at *1 (E.D.N.Y.

Aug. 4, 2000)). By the time anyone responds, it would not be difficult for the Tews to


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have already put miles between themselves and Colorado. United States v.

Wasendorf, 2012 WL 4793366, at *3 (N.D. Iowa Oct. 9, 2012) (“Although ‘fleeing’ is

typically associated with fleeing abroad, fugitives flee with[in] the United States'

boarders [sic] successfully as well. Moreover, it is possible—although difficult—to

flee abroad without a passport.”) On the road, they would have access to digital

wallets bursting with cryptocurrency and experience converting that cryptocurrency

into ready cash. Assuming they did not flee and submitted to home detention,

financial and internet monitoring would be difficult to enforce. The Tews could —

and likely would, if past performance is any indication — lie on any form asking

them to report their accounts. Even if they reported their bank accounts, they could

retain profiles on any of the many widely-accessible cryptocurrency exchanges or

use peer-to-peer platforms.      Likewise, pretrial services cannot be over the

defendants’ shoulders 24-7 ensuring that they do not misuse the internet to

perpetrate further offenses. Pretrial services is unlikely to be able to stop or prevent

the Tews from committing further financial crimes in real time.

      IV.    Conclusion.

      The Tews have been found guilty of serious crimes and the law presumes that

they should begin serving their sentences. Now that Kimberley’s ultimate gamble

has proven to be a loss there is no reason to give them the opportunity to commit

additional crimes or to use their considerable resources to flee. Instead, the law

dictates their detention, and all available facts support it as well. For all of the

reasons set forth above, the Court should revoke the defendants’ bonds and order

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that they be detained pending sentencing.



Dated this 21st day of Feburary, 2024.

                                          Respectfully submitted,

                                          COLE FINEGAN
                                          United States Attorney

By:    /s/ Bryan Fields                       By:    /s/ Sarah H. Weiss
Bryan Fields                                  Sarah H. Weiss
Assistant United States Attorney              Assistant United States Attorney
U.S. Attorney’s Office                        U.S. Attorney’s Office
1801 California St. Suite 1600                1801 California St. Suite 1600
Denver, CO 80202                              Denver, CO 80202
(303) 454-0100                                (303) 454-0100
Bryan.Fields3@usdoj.gov                       Sarah.Weiss@usdoj.gov
Attorney for the Government                   Attorney for the Government




Certification of Type-Volume Limitation

       I hereby certify that the foregoing pleading complies with the type-volume
limitation set forth in Judge Domenico’s Practice Standard III(A)(1).

                                                       /s Bryan Fields
                                                       Bryan David Fields

Statement of Speedy Trial Impact

       Pursuant to Judge Domenico’s Practice Standard III(C), the government
notes that this motion will not affect the speedy trial clock in this case because trial
has already occurred within the Speedy Trial Act deadline.




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                           CERTIFICATE OF SERVICE


       I hereby certify that on February 21st,2024, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which will send notification
of such filing to any and all counsel of record.


                                        s/ Sarah H. Weiss
                                        United States Attorney’s Office




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